Case 1:18-cv-00950-PTG-JFA Document 328-1 Filed 08/30/19 Page 1 of 2 PageID# 11694




                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

   SONY MUSIC ENTERTAINMENT, et al.,


                   Plaintiffs,
                                                            Case No. 1:18-cv-00950-LO-JFA
          v.

   COX COMMUNICATIONS, INC. and
   COXCOM, LLC.


                   Defendants.


                                         [PROPOSED] ORDER

         Before this Court is Defendants Cox Communications, Inc.’s and CoxCom, LLC’s

  (collectively, “Cox”) motion for an order granting summary judgment and/or partial summary

  judgment in their favor on Plaintiffs’ claims in the First Amended Complaint and Jury Demand

  (the “Complaint”), the Court is of the opinion that the Motion should be, and it hereby is,

  GRANTED. According, it is established as a matter of law that:

               •   Plaintiffs lack sufficient evidence to prove the underlying direct infringement of

                   Plaintiffs’ alleged works-in-suit for the secondary claims alleged against Cox in

                   the Complaint;

               •   Because the RIAA Notices failed to identify the vast majority of sound

                   recordings or any of the musical compositions alleged to have been infringed in

                   the Complaint, Cox cannot be held secondarily liable for infringement of those

                   unidentified works;
Case 1:18-cv-00950-PTG-JFA Document 328-1 Filed 08/30/19 Page 2 of 2 PageID# 11695




              •   Plaintiffs cannot prove that any Cox Business subscriber engaged in direct

                  infringement as alleged in the Complaint, or hold Cox indirectly liable for their

                  alleged actions;

              •   Plaintiffs have no evidence that Cox derived a direct financial benefit from the

                  infringement alleged in the Complaint, and so cannot be held vicariously liable

                  for the infringement alleged in the Complaint; and

              •   Under the plain language of the Copyright Act, Plaintiffs are entitled to only one

                  award of statutory damages for each album registered as a single work, and one

                  award for a sound recording and the musical composition it embodies.


  It is SO ORDERED this _______ day of _________________, 2019.


  Alexandria, Virginia                                  ____________________________
                                                        Honorable Liam O’Grady
                                                        United States District Judge
